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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,                             Case No. 17-mc-50464
                                               Honorable Linda V. Parker
v.

ARTHUR ARMSTRONG,

     Defendant.
________________________________/

      OPINION AND ORDER DENYING DEFENDANT’S REQUEST FOR
        RELIEF FROM THE WRIT OF GARNISHMENT (ECF No. 22)

         This matter is before the Court on Defendant’s motion for relief from the

garnishments imposed as a result of a restitution order. (ECF No. 22.) For the

reasons set out below, the Court denies Defendant’s request.

I.       Background

        On October 12, 2016, Defendant Arthur Armstrong (“Defendant”) pled

guilty to one count of conspiracy to commit wire fraud in violation of 18 U.S.C. §§

1343 and 1349. (United States v. Halloun, et al., 16-cr-20102, ECF No. 36.) On

February 1, 2017, this Court sentenced Defendant to twelve months of supervised

release. (United States v. Halloun, et al., 16-cr-20102, ECF No. 43 at Pg ID 247.)

As part of Defendant’s Plea Agreement, Defendant agreed to the payment of

restitution in the amount of $100,941.59. (United States v. Halloun, et al., 16-cr-

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20102, ECF Nos. 36, 43 at Pg ID 247.) (United States v. Halloun, et al., 16-cr-

20102, ECF No. 43 at Pg ID 247.)

      Since the judgment, the Government has engaged in collection efforts

through the Treasury Offset Program (“TOP”). To collect on the debt, on April 3,

2017, the Government filed an application for writ of continuing garnishment.

(ECF No. 1.) The request was submitted to the Michigan Department of Treasury.

(Id.; ECF No. 3.) On August 16, 2017 and August 24, 2017, the Government filed

an application for writ of continuing garnishment for General Motors and Fidelity

Investments. (ECF Nos. 4 & 5.) Fidelity Investments answered the garnishment

on September 11, 2017 stating that Defendant receives a monthly benefit of

$835.83. (ECF No. 10 at Pg ID 56.) On October 4, 2017, this Court ordered

Fidelity Investments to remit twenty-five percent of Defendant’s monthly pension

to the Government. (ECF No. 11.)

      On November 2, 2017, Defendant sent a letter to the Court requesting a

hearing to reduce or eliminate the garnishments against him because of financial

hardship. (ECF No. 13.) On December 6, 2017, this Court scheduled a

garnishment hearing and ordered Defendant to provide the Court with support for

change of his financial circumstances. On January 4, 2018, Defendant provided

the Court with a personal monthly budget purportedly reflecting his monthly

income and expenses. This Court held a hearing on January 16, 2018 and

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permitted Defendant to supplement his personal monthly budget to reflect his

economic hardship.

        After the hearing, Defendant submitted financial documents to the

Government, which were forwarded to this Court. The Government filed a

supplemental response on April 6, 2018. (ECF No. 20.) Because Defendant had

not adequately shown economic hardship, the Court denied Defendant’s request in

an Order and Opinion dated May 2, 2018. On May 25, 2018, Defendant filed a

second request for relief from the TOP, arguing that he does not dispute the

restitution amount. (ECF No. 22.) The Government filed a response on June 6,

2018. (ECF No. 24.)

I.       Applicable Standards

        Because Defendant is asking the Court to reconsider its prior decision, the

Court will treat Defendant’s motion as one for reconsideration.

        Local Rule 7.1 provides the following standard for motions for

reconsideration:

        Generally, and without restricting the court’s discretion, the court will
        not grant motions for rehearing or reconsideration that merely present
        the same issues ruled upon by the court, either expressly or by
        reasonable implication. The movant must not only demonstrate a
        palpable defect by which the court and the parties and other persons
        entitled to be heard on the motion have been misled but also show that
        correcting the defect will result in a different disposition of the case.




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E.D. Mich. LR 7.1(h)(3). Palpable defects are those that are “obvious, clear,

unmistakable, manifest or plain.” Mich. Dep’t of Treasury v. Michalec, 181 F.

Supp. 2d 731, 734 (E.D. Mich. 2002). “It is an exception to the norm for the Court

to grant a motion for reconsideration.” Maiberger v. City of Livonia, 724 F. Supp.

2d 759, 780 (E.D. Mich. 2010).

      “[A] motion for reconsideration is not properly used as a vehicle to re-hash

old arguments or to advance positions that could have been argued earlier but were

not.” Smith ex rel. Smith v. Mount Pleasant Pub. Sch., 298 F. Supp. 2d 636, 637

(E.D. Mich. 2003) (citing Sault Ste. Marie Tribe of Chippewa Indians v. Engler,

146 F.3d 367, 374 (6th Cir.1998)). “A motion for reconsideration ‘addresses only

factual and legal matters that the court may have overlooked. . . .’ It is improper

on a motion for reconsideration to ‘ask the court to rethink what [it] had already

thought through—rightly or wrongly.’” Carter v. Robinson, 211 F.R.D. 549, 550

(E.D. Mich. 2003) (quoting Above the Belt, Inc. v. Mel Bohannan Roofing, Inc., 99

F.R.D. 99, 101 (E.D. Va. 1983). Therefore, a motion that merely presents the same

issues already ruled upon by the Court shall not be granted. See Smith ex rel.

Smith, 298 F. Supp. 2d at 637.

II.   Analysis

      Defendant’s motion is nothing more than a restatement of his previous

request. Therefore, the Court will not reconsider its previous decision,

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absent a showing of a palpable defect, which Defendant has not shown. As

the Court stated in its previous order, Defendant has failed to demonstrate a

material change in his financial circumstances. (ECF No. 21 at Pg ID 105.)

      Without a sufficient basis for the Court to determine Defendant is

unable to pay, the Court cannot grant the relief Defendant seeks. See United

States v. Trumball, No. 1:06-CR-228, 2008 U.S. Dist. LEXIS 32098, at *1

(W.D. Mich. Apr. 18, 2008) (“While the district courts have authority to

modify restitution schedules based on a material change to [a defendant’s]

financial condition, see Cani v. United States, 331 F.3d 1210, 1215 (11th

Cir. 2003), the instant motion is lacking in sufficient detail concerning

Defendant’s finances and is without supporting documentation.”).

      Furthermore, to the extent Defendant is seeking relief from TOP, the

Court is without authority to grant such relief.

      Accordingly,

      IT IS ORDERED, that Defendant’s motion (ECF No. 22) is DENIED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE

Dated: July 19, 2018

I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, July 19, 2018, by electronic and/or U.S.



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First Class mail.
                                         s/ R. Loury
                                         Case Manager




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